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JAR/kaw

                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
      vs.                                 )
                                          )
F. JEFFREY MILLER, TODD EARNSHAW, )
BRIAN ROUSE and JAMES MOSER, et. al,      )                             Case No. 06-40068-JAR
                                          )
                        Defendants.       )
__________________________________________)

                                     MEMORANDUM AND ORDER

         Defendants have filed a myriad of motions in this case, some of which the Court ruled

upon at the motions hearing on February 25, 2008,1 one of which the Court deferred ruling

upon;2 and some of which the Court took under advisement and now rules upon in this

memorandum and order. In this memorandum and order, the Court rules upon Defendant

Miller’s motions: to dismiss (Doc. 244), to strike (Doc. 245); to exclude certain evidence (Docs.

246, 247, 250); for release of Brady materials (Doc. 248); to determine admissibility of co-

conspirator statements (Doc. 249); and for leave to file additional motions (Doc. 252). The

Court also rules upon Defendant Earnshaw’s motions: to exclude certain evidence (Doc. 229);


         1
         As to these defendants, the Court ruled upon the following motions during the motions hearing on
February 25, 2008, granting: Miller’s motion to join in motions of Earnshaw, Rouse and Moser (Doc. 251 );
Earnshaw’s motion to join in motions of Miller, Rouse, Moser and Ross (Doc. 233); Rouse’s motion to join in
motions of Miller, Earnshaw, Moser and Ross (Doc. 253); and Moser’s motion to join motions of all co-defendants
(Doc. 260). The Court denied Moser’s motion to produce field notes (Doc. 264). At the hearing, Moser withdrew
his motion for suppression of statements (267).
         2
           At the motions hearing, the Court deferred ruling upon Earnshaw’s motion for disclosure of Fed. R. Evid.
404(b) evidence (Doc. 241) until such time as the Court enters a scheduling order establishing deadlines for certain
pretrial disclosures or notices. The Court’s original scheduling order (Doc. 57) set such a deadline; and the Court
will enter an amended scheduling order establishing a new deadline.
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for bill of particulars (Doc. 231); for disclosure and information concerning cooperating

individuals (Doc. 235);3 for adequate court facilities (Doc. 237); for James hearing to determine

admissibility of co-conspirator statements (Doc. 239); and for extension of time to file additional

motions (Doc. 243). The Court also now rules upon Defendant Rouse’s motions: to determine

admissibility of co-conspirator statements (Doc. 228); for disclosure of Brady/Giglio information

(Doc. 254); and for bill of particulars (Doc. 255). The Court also rules upon Defendant Moser’s

motions: to sever defendant Moser from his co-defendants (Doc. 258); for an extension of time

to file additional motions (Doc. 259); for discovery and inspection of list of witnesses (Doc.

261); for pretrial inspection of demonstrative evidence (Doc. 263); for notice of non-testifying

co-conspirator statements (Doc. 265); for Notice pursuant to Rule 807 (Doc. 266); and for bill of

particulars (Doc. 273). And, the Court rules upon Defendant Lanny Ross’s Motion to Suppress

(Doc. 256).4 Finally, the Court denies the motion it previously had deferred ruling upon,

Defendant Earnshaw’s motion for disclosure of Rule 404(b) evidence (Doc. 241), as the Court

will establish a new deadline for disclosure of Rule 404(b) evidence in an amended scheduling

order.

I.       Motions for Notice, Disclosure and Discovery, and For Leave to File Additional
         Motions

         The defendants seek disclosure of Brady and Giglio information, an abbreviated list of

the witnesses that the government actually intends to call, information about cooperating


         3
          At the motions hearing on February 25, 2008, the Court found moot that part of the motion that asked for
disclosure and discovery of confidential informants, upon the government’s representation that there were no
confidential informants.
         4
          Although Defendant Ross pled guilty on June 2, 2008 (Docs. 283 and 284), the Court has granted the co-
defendants’ various motions to join in the motions of one another. As discussed below, the co-defendants have
standing to pursue Defendant Ross’s motion to suppress statements.

                                                         2
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individuals, information about expert witnesses, pretrial inspection of demonstrative evidence,

and notice of any evidence the government intends to offer under the residual exception to the

hearsay rule. Defendants also move for an extension of time to file additional motions. It should

be noted that the Court entered a General Order of Discovery and Scheduling in this case on

June 30, 2006.5 In that scheduling order, the Court ordered the parties to comply with the

various criminal rules of procedure, as well as any obligations under Brady,6 Giglio,7 the Jencks

Act,8 and Rule 404(b) of the Federal Rules of Evidence. There are a number of discovery and

disclosure deadlines in the scheduling order; and many of those deadlines are tied to the date of

trial. Because this has been designated as a complex case, with extensive discovery, the

defendants nonetheless have moved for specific disclosures and deadlines, earlier than those

established in the scheduling order

       •        Brady and Giglio Evidence

       Defendants Earnshaw, Miller, and Rouse seek discovery of a wide range of evidence

about witnesses and co-defendants.9 Specifically, Earnshaw and Miller seek disclosure of: plea

agreements between the government and co-defendants; proffer letters to cooperating

individuals; statements or the substance of interviews of home buyers who admitted guilt; lender

files; loan underwriting guidelines; calculations of borrowers’ income; information regarding the

grant of immunity to any witnesses; and other documents relating to the charges in this case.

       5
        (Doc. 57)
       6
        Brady v. Maryland, 373 U.S. 83 (1963).
       7
        Giglio v. United States, 405 U.S. 150 (1972).
       8
        18 U.S.C. § 3500.

       9
        (Docs. 235, 248, 254)

                                                        3
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Rouse seeks statements tending to reveal criminal activity of home buyers and cooperating co-

defendants, as necessary impeachment evidence.

           Under Brady, the prosecutor “has a duty to disclose material exculpatory evidence to the

defendant.”10 That means that the prosecutor must disclose information generally favorable to

the defendant’s defense or evidence that could be used to impeach government witnesses.11

Evidence is material in the Brady sense if it is relevant to the defendant’s guilt or punishment.12

When a witness’s testimony may be the determinative factor in the defendant’s guilt or

innocence, disclosure of impeachment evidence is required under this rule.13 The prosecution’s

failure to provide Brady evidence violates the defendant’s due process right even if done in good

faith.14

           With these principles in mind, the Court grants in part, defendants’ motions. The

government has generally acknowledged its obligations under Brady and Giglio. The Court

grants the defendants’ motion for discovery of plea agreements with, and proffer letters to,

cooperating co-defendants or witnesses, as well as documents or other evidence of grants of

immunity to witnesses. This type of evidence generally falls within the bounds of Brady and

Giglio. But defendants seek discovery beyond these bounds. For example, Rouse asserts that




           10
                United States v. Pedraza, 27 F.3d 1515, 1527 (10th Cir. 1994).
           11
                United States v. Geames, 427 F.3d 1333, 1336 (10th Cir. 2005).
           12
                Id.
           13
                Id.
           14
                Pedraza, 27 F.3d at 1527.

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“all statements” of witnesses15 and co-defendants are important to his defense and for the

impeachment of witnesses. But the government is not required to give the defendants open file

discovery of all evidence in the government’s possession.16 Nor is the government required to

give the defendants discovery of information not in its possession, such as the presentence

reports of co-defendants and witnesses, which Defendant Earnshaw requests. Moreover, a

defendants’ mere speculation about the exculpatory nature or impeachment quality of evidence

does not trigger an obligation to disclose under Brady or Giglio.17

         To be sure, a statement of a witness may be material exculpatory evidence when he or

she is a key witness, or when the witness’s statement could impeach the credibility of the witness

or other witnesses whose credibility is central to the case.18 Furthermore, impeachment evidence

becomes vital where the government intends to rely strictly on witness testimony to show the

guilt of the defendants.19 Here, the government has stated that it intends to offer corroborating

evidence in different forms, presumably through documents and other demonstrative evidence.

         Nor is there an obligation under Brady or Giglio to disclose all drafts or versions of plea

agreements, proffer letters or grants of immunity. To the extent defendants seek such, their

motion is denied because they are entitled to only the final, operative plea agreement, proffer

         15
          Of course the government has the obligation to disclose witness statements pursuant to the Jencks Act, 18
U.S.C. § 3500.
         16
             See United States v. Wright, 43 F.3d 491, 496 (10th Cir. 1994); United States v. Kiister, No. 97-40036-02-
SAC, 1998 WL 982887, at *4 (D. Kan. Aug. 7, 1998) (stating that the prosecutor is not required to disclose his
entire file to the defendant, only evidence favorable, that if suppressed, would deny the defendant a fair trial).
         17
              Kiister, 1998 WL 982887, at *4.
         18
            See Scott v. Mullin, 303 F.3d 1222, 1232 (10th Cir. 2002) (undisclosed confession of a witness to having
committed a murder could have been used to impeach that witness and three other key witnesses with the same
interests in the case.).
         19
              United States v. Payne, 63 F.3d 1200, 1210-11 (2d Cir. 1995).

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letter, or immunity agreement.

        With respect to the other types of evidence that defendants request, whether or not such

falls within the ambit of Brady or Giglio, is entirely dependent on the content of such evidence.

For example, lender files, calculation of borrower’s income, and loan underwriting guidelines

may or may not be materially exculpatory or favorable to a defendant’s defense.20 The

government has acknowledged its obligations under Brady and Giglio, and as long as timely

disclosure of such is made before trial so that defendants can make use of the evidence, the Due

Process Clause is not offended.21 Thus, defendants’ motions are granted in part and denied in

part.

        •           Early Disclosure of Witness List and Inspection of Demonstrative Evidence

        Defendant Moser seeks discovery of the government’s witness list, and in particular, a

narrowed down list of the witnesses that the government actually intends to call.22 The exchange

of witness lists is ordered in the Court’s standard scheduling order entered in this case on June

30, 2006.23 Moser argues that early inspection of the witness list will facilitate his defense,

pointing out that there are over 80,000 pages of documents in discovery and that the government

has a list of thirty to fifty witnesses it could call for certain counts in the Indictment. Yet at the

same time, the defendants have moved for additional time to file motions, because discovery has

been ongoing. For this reason alone, Moser’s motion is premature and is denied. Given the

        20
          The exculpatory nature of other types of discovery requested would similarly depend on content or
circumstance, for example: documents confirming buyer’s knowledge of terms of loan and sales contract;
underwriter’s calculations of borrower’s income; or pending felony charges against government witnesses.
        21
             United States v. Mendez, 514 F.3d 1035, 1047 (10th Cir. 2008).

        22
             (Docs. 261, 263)
        23
             (Doc. 57)

                                                          6
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passage of time since the Court’s scheduling order, however, the Court will enter an amended

scheduling order that establishes deadlines for exchange of exhibit and witness lists, among other

directives and deadlines.

        Moser also moves for early inspection of demonstrative evidence, fourteen days prior to

trial. The disclosure of demonstrative evidence is not addressed in the Court’s standard

scheduling order, because typically there is no requirement for early disclosure. Demonstrative

evidence is usually used to clarify certain evidence and assist counsel in his or her presentation

to the jury. In the interest of expediency, however, to the extent the government or a defendant

intends to use demonstrative evidence during their opening statement, they are directed to allow

the other parties to inspect the same at least twenty-four hours before trial. During the course of

the trial, and to the extent the order of proof allows,24 all parties are directed to allow the other

parties to inspect any demonstrative evidence at least twelve hours in advance. To this extent,

the motion for early inspection of demonstrative evidence is granted.

        •          Expert Witnesses

        Defendant Earnshaw moves for identification of all expert witnesses that the government

intends to call at trial and a summary of their intended testimony under Rules 702, 703, or 705.25

Under Fed. R. Crim. P. 16(a)(1)(G), “[a]t the defendant’s request, the government must give to

the defendant a written summary of any testimony that the government intends to use under

Rules 702, 703, or 705 of the Federal Rules of Evidence during its case-in-chief at trial.” The




        24
           The Court recognizes that the order of proof during a trial may change, sometimes suddenly, depending
on the schedules of the witnesses and the flow of the evidence.

        25
             (Doc. 234)

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Court’s scheduling order26 directs that the government must, “within a reasonable time period

after arraignment, and not later than 20 days before the motions deadline . . . comply with Rule

16.” The scheduling order further provides that “[p]ursuant to Rule 16(a), the government shall .

. . permit the defendant to inspect and copy . . . [a] written summary of testimony the government

intends to use under Rules 702, 703, or 705 . . . during its case-in-chief.” The government,

however, notes that no such testimony has been identified and that it will abide by the continuing

obligation to provide that information once it is discovered. Accordingly, defendant’s motion is

denied .

       •           Notice of Use of Residual Exception to Hearsay Rule

       Defendant Moser requests that the government provide reasonable notice if it intends to

use any evidence pursuant to Fed. R. Evid. 807.27 Rule 807 is the residual exception to the

hearsay rule. It provides that “a statement not specifically covered by Rule 803 but having the

equivalent circumstantial guarantees of trustworthiness, is not excluded by the hearsay rule” if

the Court makes certain determinations in favor of admitting the statement.28 Moser’s motion is

denied, as the government stated that it is not currently aware of any such evidence.

       •           Leave to File Additional Motions

       Defendants Earnshaw, Moser, and Miller move for additional time to file more motions.29

Defendants’ motions are granted in part. Defendants claim that they need more time to sift



       26
            (Doc. 57)
       27
            (Doc. 266)
       28
            Fed. R. Evid. 807.

       29
            (Docs. 243, 252, 259)

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through an additional twenty-five boxes of documents recently received in discovery, and to file

additional motions based on the materials in this additional discovery. Essentially, defendants

seek to extend the motions deadline in this case to ninety days before trial. The government

argues that the materials in these twenty-five boxes are not new at all, and that defendants have

had access to these materials since July 2006.

         Whether to extend the pretrial motions deadline is within the discretion of the Court.30 In

this case, the motions deadline was January 11, 2007. By or before that deadline, defendants had

filed over thirty motions. The Court notes that this case is not on the trial calendar and that a

counterpart to this case, Case No. 06-40151, is tentatively scheduled to proceed to trial before

this case. As such, granting an extension of the motions deadline in this case would not be

prejudicial to the government, nor would it unreasonably delay the case. Accordingly, the

motion is granted in part. Defendants have an additional 30 days from the date of this Order to

file any additional motions pertaining to the referenced twenty-five boxes of documents.

II.      Motions for Notice of Non-testifying Coconspirator Statements, and for
         Determination of Admissibility of Co-Conspirator Statements in a James Hearing.

         Defendants Rouse, Earnshaw, Moser, and Miller move to exclude and/or determine the

admissibility of coconspirator statements by holding a James hearing, and for discovery of any

co-conspirator statements the government intends to use as rebuttal evidence.31 The motion for

discovery of rebuttal evidence is denied. Such disclosure is not required by the Federal Rules of

Criminal Procedure. Furthermore, rebuttal evidence, by definition, is not within the scope of a



         30
              Hillhouse v. SWO Acquisition Corp., 946 F.2d 901 (Table), 1991 WL 216466, at *2 (10th Cir. Oct. 23,
1991).

         31
              Docs. 228, 239, 249, 265.

                                                           9
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James hearing because as more fully discussed below, in a James hearing the Court is

determining whether there was a conspiracy, whether the defendant and the declarant were

members of the conspiracy and whether the statement was made in furtherance of the

conspiracy.32

         Defendants also seek disclosure of co-conspirator statements and conduct that the

government intends to offer at trial, because a co-conspirator’s statement, if admitted at trial, is

taken as the statement of the defendant. To the extent that such disclosure has not already been

accomplished, the motion is granted.

         Defendants argue that a James hearing is required in this case because allowing the

government to establish admissibility of co-conspirator statements during the course of the trial

may prejudice the defendants. The government responds that it will prepare its order of proof at

trial in a manner that allows the Court to quickly connect the evidence establishing the existence

of the conspiracy and the other elements requisite to admission of co-conspirator statements.

This will render a pretrial James hearing unnecessary and avoid any unnecessary prolonging of

the trial.

         Federal Rule of Evidence 801(d)(2)(E) provides that “‘[a] statement is not hearsay if . . .

[t]he statement is offered against a party and is . . . a statement by a coconspirator of a party

during the course and in furtherance of the conspiracy.”33 Statements that are intended to




         32
            It is axiomatic that if the government fails to prove these necessary elements for the admission of a co-
conspirator statement, there will be no “rebuttal” to worry about, for failure to prove the existence of a conspiracy, or
failure to prove that the defendant was a member of the proven conspiracy will result in the jury trial ending long
before the need for any rebuttal evidence.

         33
              United States v. Townley, 472 F.3d 1267, 1273 (10th Cir. 2007) (quoting Fed. R. Evid. 801).

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promote the conspiracy are in furtherance of the conspiracy.34 Thus, for example, statements by

a co-conspirator intended to explain, facilitate, provide reassurance, or serve to maintain trust

and cohesiveness promote the conspiracy and are in furtherance of the conspiracy.35 Before

admitting co-conspirator statements, the district court must determine by a preponderance of the

evidence that a conspiracy existed, the defendant and declarant were both members of the

conspiracy, and that the statements were made in the furtherance of the conspiracy.36

       In the Tenth Circuit, a district court can only admit co-conspirator statements if it holds a

James hearing or conditions admission on forthcoming proof of a “predicate conspiracy through

trial testimony or other evidence.”37 The preference, however, is for a James hearing.38 In

making its determination, the court may rely on the actual statements by co-conspirators along

with independent evidence of the conspiracy.39 The independent evidence linking the statements

to the defendant, however, need not be substantial.40 For example, the burden is met by

corroborating evidence by an investigator.41

       Defendants’ motions are denied without prejudice. There has been extensive discovery

in this case. The Court, in the instant order, has granted defendants additional time to file


       34
            Id.
       35
            Id. (citations omitted).
       36
            United States v. Owens, 70 F.3d 1118, 1123 (10th Cir. 1995).
       37
            Townley, 472 F.3d at 1273 (quoting Owens, 70 F.3d at 1123).
       38
            Id.
       39
            United States v. Lopez-Gutierrez, 83 F.3d 1235, 1242 (10th Cir. 1996).
       40
            Id. (citing United States v. Rascon, 8 F.3d 1527, 1541 (10th Cir. 1993)).
       41
            Id.; see also Owens, 70 F.3d at 1125.

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pretrial motions, and the Court intends to enter an amended scheduling order in the near future.

The Court will schedule a limine hearing prior to trial, and if the defendants remain convinced

that the government is incapable of producing evidence of the necessary elements for

admissibility, the Court will entertain a renewed motion shortly before trial.

       Defendant Earnshaw moves to exclude co-conspirator testimonial statements,42 arguing

that even if admissible under the co-conspirator exception to the hearsay rule,43 admitting such

statements in evidence violates the Sixth Amendment. Under the Sixth Amendment’s

Confrontation Clause, a defendant has the right to confront the witnesses against him.44 In

United States v. Crawford,45 the Supreme Court held that testimonial statements of a witness are

only admissible if the witness is unavailable and the defendant had an opportunity to cross-

examine the witness.46 But the Crawford Court also stated that a co-conspirator’s statement

made during and in furtherance of the conspiracy is not a testimonial statement, and thus its

admission does not violate the Sixth Amendment.47 Rather, a statement is testimonial if the

“circumstances objectively indicate that . . . the primary purpose of the interrogation is to

establish or prove past events potentially relevant to later criminal prosecution.”48




       42
            (Doc. 229)
       43
            Fed. R. Evid. 801(d)(2)(E).
       44
            United States v. Crawford, 541 U.S. 36, 42 (2004).
       45
            541 U.S. 36 (2004).
       46
            Id. at 59.
       47
            Id. at 56.
       48
            Davis v. Washington, 547 U.S. 813, 822 (2006).

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         In United v. Summers,49 the Tenth Circuit held that “‘a statement is testimonial if a

reasonable person in the position of the declarant would objectively foresee that his statement

might be used in the investigation or prosecution of a crime.’”50 In contrast, Fed. R. Evid.

801(d)(2)(E) states that “‘a statement is not hearsay if . . . offered against a party and is . . . a

statement by a coconspirator of a party during the course and in furtherance of the

conspiracy.’”51 Statements are in furtherance of the conspiracy when they are “‘intended to

promote the conspiratorial objectives.’”52 Thus, statements made to explain the events, facilitate

completion of the conspiracy, or provide reassurance and maintain trust between co-conspirators

are admissible as non-hearsay.53 Where, however, the statements qualify as both non-hearsay

under Rule 801(d)(2)(E) and are testimonial, an analysis under Crawford and its progeny is

required.54 Defendant Earnshaw does not point the Court to any statements fitting this bill and

accordingly, his motion is denied. Defendant may renew his motion once any statements fitting

this description becomes apparent.

III.     Motion to Suppress Statements

         Defendant Ross moves to suppress statements he made to agents who interviewed him.55

         49
              414 F.3d 1287 (10th Cir. 2005).
         50
          United States v. Townley, 472 F.3d 1267, 1272 (10th Cir. 2007) (quoting United States v. Summers, 414
F.3d 1287, 1302 (10th Cir. 2005)).
         51
              Townley, 472 F.3d at 1273 (quoting Fed. R. Evid. 801(d)(2)(E)).
         52
              Id. (quoting United States v. Reyes, 798 F.2d 380, 384 (10th Cir. 1986)).
         53
              Id. (citing United States v. Smith, 833 F.2d 213, 219 (10th Cir. 1987)).
         54
          See United States v. Baines, 486 F. Supp. 2d 1288,1300 (D.N.M. 2007) (explaining that “while a majority
of co-conspirator statements are not testimonial in nature, when such a statement is testimonial it is subject to the
requirements of the Confrontation Clause.”).

         55
              (Doc. 256)

                                                             13
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Ross claims that he was rendered incapacitated by drugs provided to him after his heart surgery.

Thus, he argues, he was incapable of knowingly and intelligently consenting to the interview,

and further, his statements could not be considered accurate. Ross has since pled guilty and is no

longer prosecuting this motion. But the Court has granted the other defendants’ motions to join

in one another’s motions. Although Ross is no longer pursuing suppression of his statements,

the other defendants have standing to pursue this relief. The defendants have standing to

challenge the voluntariness of Ross’s confession, not based on a violation of Ross’s

constitutional rights, but on the basis of a violation of their own right to due process.56

         The government argues that defendants have not met the burden of showing that the

medications rendered Ross mentally impaired and incapable of consenting to the interview.

Whether a statement is voluntary is determined by viewing the totality of the circumstances.57

Relevant circumstances include “(1) the age, intelligence, and education of the defendant; (2) the

length of detention; (3) the length and nature of the questioning; (4) whether defendant was

advised of his constitutional rights; and (5) whether the defendant was subjected to physical

punishment.”58 When confronted with a claim for mental or physical impairment due to

medication, the defendant must show that the medication caused his impairment.59 Here, Ross

provided no evidence other than his conclusory allegation that he was impaired. The motion to




         56
           Clanton v. Cooper, 129 F.3d 1147, 1157-1158 (10th Cir.1997) (involuntary or coerced confessions are
unreliable and offend the Constitution. Thus if the government uses the involuntary confession of another person
against the defendant, the defendant has standing to challenge as a violation of the defendant’s due process rights.).
         57
              United States v. Toles, 297 F.3d 959, 965 (10th Cir. 2002).
         58
              Id. at 966.
         59
              See United States v. Ellison, 791 F.2d 821, 823 (10th Cir. 1986).

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suppress is accordingly denied.60

IV.     Motions for Severance and Adequate Court facilities

        Defendant Moser moves for severance from his co-defendants.61 “There is a preference in

the federal system for joint trials of defendants who are indicted together”62 because joint trials

“promote efficiency and ‘serve the interests of justice by avoiding the scandal and inequity of

inconsistent verdicts.’”63 But under Fed. R. Crim. P. 14(a), if the defendants’ joinder in the

indictment appears to prejudice a defendant, the court may sever the defendants’ trial or provide

any other relief that justice requires. Indeed, the Supreme Court stated that when defendants are

properly joined under Rule 8(b), “a district court should grant a severance under Rule 14 only if

there is a serious risk that a joint trial would compromise a specific trial right of one of the

defendants, or prevent the jury from making a reliable judgment about guilt or innocence.”64 The

determination of the risk of prejudice and any remedy that may be necessary is committed to the

sound discretion of the court.65 “‘In the context of conspiracy, severance will rarely, if ever, be

required.’”66 In a conspiracy case, joint trials “‘reduce the chance that each defendant will try to

create a reasonable doubt by blaming an absent colleague’ and provide ‘the jury the best

        60
           See United States v. Muniz, 1 F.3d 1018, 1022 (10th Cir. 1993) (explaining that intoxication does not
automatically make a statement involuntary); see also United States v. Short, 947 F.2d 1445, 1450 (10th Cir. 1991)
(finding defendant’s statements voluntary even though he was on pain medication for broken bones).

        61
             (Doc. 258)
        62
          Zafiro v. United States, 506 U.S. 534, 537 (1993).
        63
          Id. (quoting Richardson v. Marsh, 481 U.S. 200, 209 (1987)).
        64
          Id. at 539.
        65
          Id. at 541.
        66
         United States v. Ramos, 839 F. Supp. 781, 785 (D. Kan. 1993) (quoting United States v. Searing, 984 F.2d
        960, 965 (8th Cir. 1993)).

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perspective on all of the evidence and therefore increases the likelihood of a correct outcome.’”67

       Moser offers no grounds for severance, but states “[t]o prevent premature and prejudicial

disclosure of defense theories defendant requests pursuant to Rule 16(d) . . . that the court hold

an ex parte hearing to allow defense counsel to proffer the necessity of severance in this case.”

Fed. R. Crim. P. 16(d)(1)68 states that “[t]he court may permit a party to show good cause by a

written statement that the court will inspect ex parte. If the relief is granted, the court must

preserve the entire text of the party’s statement under seal.” To that end, Defendant Moser is

directed to submit, ex parte, a written statement showing good cause why he is entitled to

severance and/or why he is entitled to an ex parte hearing on his motion for severance.

Defendant Moser is directed to make this submission within ten (10) days of this order. Before

filing this submission electronically, defendant Moser should check with the Clerk’s office for

direction as to filing his submission at the CMECF ex parte level of access. The motion for

severance thus remains under advisement.

       Defendant Earnshaw moves for the court to provide “adequate court facilities.” 69

Earnshaw argues that he and his counsel should have a separate table during trial because

sharing a counsel table with his many co-defendants is impractical. While the courtroom can

only accommodate so many counsel tables, if all four defendants go to trial, it is likely that the

Court will provide two tables for the four defendants and their counsel. Earnshaw further argues

that sharing counsel table with his co-defendants is prejudicial because, (1) the jury will likely



       67
         Id. (quoting United States v. Buljubasic, 808 F.2d 1260, 1263 (7th Cir. 1987)).
       68
            Fed.R.Crim.P. 16(d)(1).

       69
            (Doc. 237)

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view the defendants as a group and the guilt of a co-defendant may spill over on him, and (2)

sharing counsel table will unduly risk disclosure of confidential, privileged information.

           “The criminal process presumes that the defendant is innocent until proved guilty.”70

“Accordingly, the Constitution prohibits any courtroom arrangement or procedure that

‘undermines the presumption of innocence and the related fairness of the factfinding process.’”71

The presumption of innocence is undermined when there is an unacceptable risk that

impermissible factors will come into play.72 In situations where the courtroom arrangement is

challenged, the court must determine whether the arrangements create an unacceptable risk to the

defendant’s right to a fair trial.73 Whether to grant a defendant’s motion is within the discretion

of the court.74

           In United States v. Ailsworth,75 Judge Crow explained that:

                       It is axiomatic that each defendant is entitled to a fair trial.
                       However, there is no requirement that each defendant be placed at
                       a separate table. The arrangement of the courtroom, including the
                       seating arrangement for the defendants is committed to the sound
                       discretion of the district court. The arrangement of the courtroom,
                       including the placement of the defendants, their counsel and the
                       security personnel, is subject to challenge only if the arrangement
                       is inherently prejudicial. A courtroom practice or arrangement is
                       inherently prejudicial if “an unacceptable risk is presented of
                       impermissible factors coming into play.” In short, based upon past


           70
                United States v. Larson, 460 F.3d 1200, 1214 (9th Cir. 2006) (citing Deck v. Missouri, 544 U.S. 622, 630
(2005)).
           71
                Id. (quoting Deck, 544 U.S. at 630).
           72
                Id. (citing Estelle v. Williams, 425 U.S. 501, 503 (1976)).
           73
                Id.; see also Tyler v. Nelson, 163 F.3d 1222, 1229 (10th Cir. 1999).
           74
                Tyler, 163 F.3d at 1229.

           75
                No. 94-40017-01-07-SAC, 1994 WL 539347, at * 27 (D. Kan. Aug. 24, 1994).

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                   experience in multi-defendant trials, the court does not believe that
                   the arrangement of the defendants around a single table in the
                   courtroom will be prejudicial to any of the defendants.76

In this situation, like in Ailsworth, the Court is not convinced that there will be any unacceptable

risks of impermissible factors coming into play if defendants are placed at the same counsel table

or tables throughout trial. Moreover, the jury is instructed, as a matter of law, that it is their duty

to give separate consideration to the evidence as it pertains to each defendant. Accordingly,

defendant’s motion is denied.

V.     Motions for Bill of Particulars, Motion to Strike and Motion to Dismiss

       Defendants Earnshaw, Moser, and Rouse have filed motions for bill of particulars,77

generally arguing that the Indictment does not provide sufficient information to give them the

requisite notice of the charges they face. Defendant Miller moves to dismiss, or in the

alternative for a bill of particulars, based on the insufficiency of the Indictment.78 Defendant

Miller further moves to strike79 certain language from the Indictment as prejudicial surplusage.

       •           Motions for Bill of Particulars

       One or more of the defendants claim that the Indictment80 is insufficient in giving them

notice of: (1) the place where the conspiracy was formed; (2) the persons present when the

conspiracy was formed; (3) the identity of all participants in the conspiracy; (4) the persons who



       76
            Id. (citations omitted).

       77
            (Docs. 231, 255, 273)
       78
            (Doc. 244)
       79
            (Doc. 245)
       80
            “Indictment” refers to the First Superseding Indictment (Doc. 188) filed on August 8, 2007.

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participated in all meetings in furtherance of the conspiracy; (5) the specific terms of the

conspiratorial agreement; (6) the specifics, including the location of all meetings and

conversations in which any defendant participated, including the names of all persons that the

government claims were coconspirators; (7) the co-conspirator who performed each specific act

alleged in the Indictment; (8) the date on which each defendant joined the conspiracy; (9) the

nature and extent of each defendant’s involvement in the conspiracy and substantive crimes with

which each defendant is charged; (10) the evidence linking the defendants to the counts for

which they are charged; (11) the alleged illegal act or acts that underlie each count of the

Indictment; and (12) the documents that underlie each count of the Indictment.

        An indictment is only held to a minimal constitutional standard; the defendant only need

be placed on notice of the charges against him.81 An indictment is sufficient if it contains the

elements of the crime charged, sufficiently apprises the defendant of what he must defend, and

enables the defendant to assert double jeopardy.82 A review of the sufficiency of an indictment is

done by reading the indictment as a whole, making sure to interpret it in a common sense

fashion.83

        “‘The purpose of a bill of particulars is to inform the defendant of the charges against

him with sufficient precision to allow him to prepare his defense.’”84 “A bill of particulars is not

necessary if ‘the indictment sets forth the elements of the offense charged and sufficiently

        81
             United States v. Daniels, 159 F. Supp. 2d 1285, 1290 (D. Kan. 2001).
        82
          United States v. Chisum, 502 F.3d 1237, 1244 (10th Cir. 2007) (citing United States v. Dashney, 117 F.3d
1197, 1205 (10th Cir. 1997)).
        83
             Daniels, 159 F. Supp. 2d at 1290.
        84
          United States v. Tyler, 42 F. App’x 186, 190 (10th Cir. 2002) (quoting United States v. Ivy, 83 F.3d 1266,
1281 (10th Cir. 1996)).

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apprised the defendant of the charges’” against him.85 A bill of particulars is not a discovery

device to obtain the government’s evidence; instead, it is a device used to obtain the theory of

the government’s case where the indictment is too vague.86 Furthermore, where the government

has provided discovery in abundance, defendants cannot assert that a bill of particulars is

necessary because review of the documents would be copious or burdensome to conduct.87

Whether to grant a bill of particulars is in the sound discretion of the trial court,88 and will not be

granted unless the defendant can show prejudice.89

        In this case, the government has provided voluminous discovery to the defendants.

Moreover, the Indictment includes a detailed statement concerning the background of the

business entities and individuals involved in the offenses charged, as well as a detailed account

of many alleged acts done in furtherance of the conspiracy. Further, in the substantive counts of

the Indictment, there is sufficient notice of the transaction that underlies the count, for not only is

the victim financial institution identified, the date of the transaction is identified, the name of the

borrower is identified, and the amount of the loan is identified. Moreover, the government has

provided discovery that includes a separate loan file for each borrower’s transaction; each file

includes all relevant documents pertaining to the transaction. Thus, the defendants’ argument

that they are unable to determine which documents underlie which count of the Indictment, is



        85
          United States v. Levine, 983 F.2d 165, 167 (10th Cir. 1992) (quoting United States v. Dunn, 841 F.2d
1026, 1030 (10th Cir. 1988)).
        86
             Tyler, 42 F. App’x at 190.
        87
             See Ivy, 83 F.3d at 1282.
        88
             Dunn, 841 F.2d at 1029.
        89
             United States v. Wright, 826 F.2d 938, 942 (10th Cir. 1987).

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without merit.

         Furthermore, some of the detail that defendants complain is lacking, is not required to be

in an indictment; nor is a bill of particulars meant to be a discovery device for this information.

Specifically, neither the Indictment nor the bill of particulars need identify: (1) the place where

the conspiracy was formed; (2) the persons present when the conspiracy was formed; (3) the

identity of all participants in the conspiracy; (4) the persons who participated in all meetings in

furtherance of the conspiracy; (5) the specific terms of the conspiratorial agreement; (6) the

specifics, including the location of all meetings and conversations in which any defendant

participated, including the names of all persons that the government claims were coconspirators;

(7) the co-conspirator who performed each specific act alleged in the Indictment; or (8) the date

on which each defendant joined the conspiracy. This is essentially a request for the “whens,

wheres and with whoms of acts and participation in the charged conspiracy,” which is not the

proper function of a bill of particulars.90 Nor is the government required to provide each and

every overt act where the same scheme was repeated numerous times to defraud home buyers.91

         The defendants also complain, however, that the Indictment fails to give them sufficient

notice of what they individually did to commit conspiracy and the substantive offenses with

which they were charged. But as discussed below, the content of the Indictment belies this

claim.

         •        The Indictment



         90
            United States v. Riggins, No. 07-40055, 2008 WL 558087, at * 2 (D.S.D. Feb. 29, 2008) (citing United
States v. Jimenez, 824 F. Supp. 351, 363 (S.D.N.Y. 1993)).
         91
            Ivy, 83 F.3d at 1282 (rejecting defendants’ contention that the government was required to identify the
parts of the discovery that would clarify the indictment when the government provided full discovery).

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         The Indictment charges Defendants Miller, Earnshaw, Rouse and Moser with conspiracy

to commit bank fraud and money laundering, as well as the substantive crimes of bank fraud and

money laundering. Other defendants named in the Indictment, Steve Middleton, Lanny Ross and

Judy Brumble have now pled guilty.92 The Indictment contains 59 counts and a Forfeiture

Notice and Allegation. In a four page “Introduction,” the Indictment describes the business

operations of Defendant Miller, and identifies each defendant’s role in, or association with,

Miller and/or Miller’s business operations.

         The Introduction sets forth that Miller owned and operated Enterprises and Star Land

Development, businesses through which he built and developed houses. Miller also “started,

financed and controlled” Associated Capital and Associated Finance, businesses that prepared

loan applications for buyers, and serviced second mortgages on the properties.

         Defendant Earnshaw is identified as a loan officer for Maplewood Mortgage and

Prosource Mortgage, as well as a real estate agent who sold many of the homes built by Miller.

The Introduction further alleges that after Miller became the subject of a host of lawsuits and

investigations, he stopped doing business as Associated Capital and Associated Finance, and

began selling homes through middlemen, including Earnshaw. The Introduction also states that

by virtue of a consent judgment, Miller was prohibited from employing Earnshaw as a real estate

agent or mortgage broker; and that the consent judgment forever banned Earnshaw from

engaging in the mortgage business in Kansas.

         Defendant Rouse is identified as a loan officer for Maplewood Mortgage and Prosource



         92
            Angela Parenza and Elizabeth Hessel pled guilty to the original Indictment in this case, prior to the filing
of the First Superseding Indictment. Paul Nicolace has been dismissed from this case upon motion of the
government.

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Mortgage, as well as a sales representative for BNC Mortgage. Defendant Moser is identified as

a real estate investor; the Introduction goes on to describe how beginning in 2002, Miller began

marketing his houses to investors at a discount if they purchased the houses in volume, but this

discounting was not disclosed to the lenders.

        The Introduction also identifies the other co-defendants in this case; Judy Brumble is a

loan officer and processor and an “ostensible real estate agent for Miller, as well as a middleman

through whom Miller sold houses with a kick-back of her real estate commissions paid to Miller;

Steve Middleton is a middleman through whom Miller sold houses; and Lanny Ross is a real

estate appraiser who provided inflated appraisals to Miller.93

        Count 1 of the Indictment charges all defendants with conspiring with each other and

others, to defraud financial institutions and commit money laundering. Count 1 states that the

“object of said conspiracy and scheme to defraud was to enrich the conspirators by manipulating

home buyers, manipulating appraisals and submitting materially false and fraudulent loan

applications to obtain loan proceeds from federally insured financial institutions.”

        In nine narrative paragraphs, certain overt acts of the conspiracy are detailed. Defendants

Miller, Earnshaw, and Moser are specifically mentioned in the overt acts section. Miller is

alleged to have committed a number of the described overt acts. Moser is alleged to be one of

the investors who acted as a straw buyer, who was paid kickbacks out of the loan closings and

who planned to let the properties go into foreclosure.

        Earnshaw and Miller are alleged to have created a form called the Principal Reduction



        93
          The original Indictment identified and described the involvement of other alleged conspirators. Angela
Parenza and Elizabeth Hessel served as loan officers for Associated Capital. Parenza was also Miller’s office
manager and among her many acts were forging potential buyer’s signatures on loan documents.

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Form to reduce the second mortgage, “which was provided to the home buyer after closing. At

various times the defendants would fail to disclose the fact of second and/or third mortgages,

and/or the fact that there was a discount to the buyer on the second or third mortgages.”

       In their entirety, these nine paragraphs of overt acts paint a picture of the conspiracy and

scheme to defraud financial institutions and launder money. In short, the Indictment explains

that Miller owns a company in the business of manufacturing and selling homes, that he targeted

buyers with credit problems, that he owned another business used in the financing of home loans,

and that he hired the other defendants to serve certain roles in the scheme. The Indictment

alleges that Miller turned his business into a “One Stop Shop” for home buyers, where they

could pick out a house and obtain financing without going any further. To maintain the

conspiracy, Miller and others “created and caused to be created, materially false loan

applications and accompanying documents, such as tax returns, employment verifications, rental

agreements, rental verifications, and payment histories, to cause federally financial institutions to

fund loans . . . .” The Indictment notes that Miller and others “obtained intentionally inflated

appraisals by refusing to pay appraisers if his price was not met,” and “manipulated home buyers

into moving into Miller-built houses in advance of closing” then coercing buyers to accept an

increased sales prices at closing.

       In addition to these nine narrative paragraphs describing overt acts, Count 1 states that in

furtherance and execution of the conspiracy, the defendants committed overt acts constituting the

substantive offenses charged in Counts 2 through 59 of the Indictment. Count 1 incorporates by

reference, Counts 2 through 59 as overt acts of the conspiracy.

       Defendants Miller, Earnshaw, Rouse, and Moser are charged in many of these


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substantive counts. Counts 2 through 54 all charge bank fraud, and present specific information

concerning each count of bank fraud in a tabular format. Notably, Counts 2 through 54 also

charge the defendants with aiding and abetting the bank fraud, in violation of 18 U.S.C. §2. For

each count, the following information is provided in a table: (1) the “on or about date;” (2) the

name of the financial institution and the name of the borrower; (3) the defendants involved; and

(4) the amount of the loan disbursement.”

       •       Sufficiency of Notice

       After reviewing the Indictment, and based on statements of counsel regarding the volume

and type of discovery received by defendants, the Court largely finds no merit in defendants’

claims that they are not on sufficient notice to allow them to adequately prepare for trial and/or

avoid double jeopardy. The Introduction, Object of Conspiracy, and Overt Acts sections of the

Indictment provide much more detail than is required in an indictment. This information,

coupled with the information in the substantive counts, as well as the content of the evidence

defendants have discovered, provides answers to many of the defendants’ questions about the

illegal acts and actors underlying each count of the Indictment.

       The defendants acknowledge that they are on notice of the allegations that there were

inflated appraisals, fraudulent loan applications, concealed discounts and/or kickbacks, and false

lease/purchase agreements. They contend that they cannot ascertain from the Indictment,

however, which of these allegations attaches to each count, nor what they are alleged to have

done illegally with respect to a particular transaction. For example, defendant Rouse complains

that he cannot ascertain what he is alleged to have knowledge of, or whether he is alleged to

have directly participated in inflated appraisals, false loan documents, providing down payments


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or closing costs to buyers, or something else. Rouse complains that the government’s

unwillingness to provide discovery of witness statements, including the statements of home

buyers, unless they are discoverable through the Jencks Act, Brady or Giglio, impairs his ability

to identify what he is alleged to have done wrong. Although he can ascertain which transactions

he participated in as a loan officer, that does not give him notice of what he did that was

unlawful, for the act of being a loan officer, alone, is not criminal. Rouse claims that he cannot

ascertain whether he is alleged to have falsified documents; and that the fact that on some

transactions he served as the representative of a lending company, rather than as a loan officer,

further confuses the issue.

       The other defendants similarly contend that they cannot ascertain what illegal act they

committed with respect to the loan transactions for which they are charged. Defendant Miller,

for example, complains that in Count 2, he cannot ascertain whether he is alleged to have

falsified the loan application, obtained an inflated appraisal, failed to disclose that a second

mortgage was going to be discounted, or provided the borrower with his down payment and

closing costs.

       But the government offers that information from the discovery provided and the

Indictment. If the defendant can identify the loan transaction, the fraudulent conduct is self

evident in each loan file, which the defendants have fully discovered. At the hearing on these

motions, the government represented that where there is an inflated appraisal by one of the

defendants, that appraisal form is in the file, presumably on its face identifying the defendant as

the appraiser. And where there are fraudulent loan applications, the loan file may reveal who

prepared certain documents, who communicated with the borrower, who filled out the loan


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application or who submitted it to the financial institution.

       Moreover, given the detail provided in the Indictment, a particular defendant’s illegal

conduct may be evident based on the types of documents in a particular loan file, or based on the

type of transaction itself. For example, the Indictment alleges that Earnshaw created a form

called the Principal Reduction Form, used to reduce the balance of a second mortgage, a form

that was provided to the home buyer after closing. In essense, Earnshaw is alleged to have

committed fraud by participating in transactions in which the existence of a second mortgage

was concealed from the primary lender, or the correct amount of the second mortgage was

misrepresented. Files containing this principal reduction form and documents memorializing a

second mortgage identify the alleged criminal acts of Earnshaw on a particular transaction.

Moreover, if a loan file reveals that Earnshaw was the real estate agent, that places Earnshaw on

notice that he is also alleged to have sold the property to the home buyers, or to investors like

Moser who actually purchased the homes at a discount, something Earnshaw, as the real estate

agent would allegedly be aware of. Or perhaps the loan file might reveal Earnshaw was the real

estate agent who sold property to an individual buyer, who used Miller’s one stop shop to obtain

financing as well, and who may have been urged by Earnshaw to move into the property before

closing.

       To be sure, some of this detail may not be facially evident from the loan

files, but to the extent Earnshaw and others are alleged to have committed acts that are not

evident from the loan documents or other discovered evidence, the defendants have failed their

burden of showing prejudicial effect. Without the defendants providing some indication of what

documents they have discovered and what those documents reveal in light of the Indictment’s


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detailed description of the scheme and conspiracy, the Court is unable to determine with much

more specificity what, if anything, the defendants are entitled to have in a bill of particulars.

        Nonetheless, the Court conditionally grants the motion for bill of particulars to this

extent: the government is directed to provide the defendants with the act or acts they committed

in violation of the substantive counts of the Indictment, or the act or acts they committed in

aiding or abetting another, where the defendant’s participation in a particular loan transaction

cannot be ascertained from the loan files, witness statements, or other discovered evidence.

        The Court is mindful that the government need not particularize all of its evidence.94

Thus, the defendants are only entitled to a bill of particulars in those situations where they have

not discovered sufficient evidence in the loan file or in other evidence disclosed to date. The

Court’s partial and conditional granting of the motion for bill of particulars does not require the

government to detail all of its evidence, just sufficient evidence that the defendant knows what

act they did in committing fraud, or aiding and abetting fraud.

        Defendant Moser also contends that the Indictment is insufficient because it fails to

       provide notice of how the government arrived at the forfeiture amount in Count 60, of

$25,042,670.39. To the extent that this amount is not the total of the amounts of the loan

disbursements in Counts 2 through 54 and the amounts of the monetary transactions in Counts 55

through 59, the government is directed to provide defendant with a bill of particulars itemizing

the amounts comprising the $25 million figure in Count 60.

        •        Miller’s Motion to Dismiss


        94
           United States v. Henry, 861 F. Supp. 1190, 1197 (S.D.N.Y. 1994) (citing United State v. Cephas, 937
F.2d 816, 823 (2d Cir. 1991) (denying defendants’ motion for bill of particulars as a subtle attempt to get the
government to “‘particularize all of its evidence’”) (quotation omitted).

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          Miller’s motion for a bill of particulars is in the alternative to his motion to dismiss

Counts 2-54 for the government’s failure to plead with the requisite specificity. But as discussed

above, this Indictment certainly satisfies the minimal standards required, and spells out the

requisite elements of offense charged. Moreover, as discussed above and further discussed

below, the defendants are not entitled to a bill of particulars where the nature of their acts and

participation is evident from the loan files and/or other evidence produced, when carefully

considered in light of the detail provided in the Indictment. Thus, Miller’s motion to dismiss is

denied.

          Miller relies on United States v. Daniels,95 a case in which the indictment was structured

much like the one here, with the substantive counts presented in a tabular format that referenced

the narrative information provided in the conspiracy count. In Daniels, Judge Vratil found that

the indictment was constitutionally sufficient, placing the defendant on notice of the charges and

the “essential facts and general circumstances underlying them.”96 This Indictment does the

same.

          There is a material distinction between this case and Daniels, however. In Daniels, there

was but one defendant; the defendant thus did not have to ascertain what he was alleged to have

done vis-à-vis the other defendants. In this case, the Indictment states what roles or functions

each defendant performed; and the documents in the loan files may well evidence what the

defendant did in a particular transaction. Where, however, the discovered evidence and

Indictment do not together inform as to what a defendant did to commit bank fraud or to aid and



          95
               159 F. Supp. 2d 1285 (D. Kan. 2001).
          96
               Id. at 1295.

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abet bank fraud, the government is directed to provide a bill of particulars as to what that

particular defendant did to violate the statute in that particular count.

        For example, if a defendant’s alleged participation was that he urged the buyer to move

in before the closing date, and there is nothing in the discovered evidence showing that the buyer

moved in early or that the defendant had that discussion with the buyer, then the government is

directed to provide a bill of particulars on that particular count.

        •        Motion to Strike

        Miller moves to strike portions of paragraphs 5, 7, and 10 from the Indictment. Federal

Rule of Criminal Procedure 7(d) states that the Court may strike surplusage from an indictment.

This means that a court, in its discretion, may strike allegations that are inflammatory and

prejudicial to the defendant and not relevant to the charges in the indictment,97 or “allegations

which are both independent of and unnecessary to the offense on which a conviction ultimately

rests.”98

        The motion is denied. Miller argues that paragraph 5 should be deleted because it is

inflammatory and gives the impression that Miller has been under investigation for prior conduct

not charged in this Indictment. Paragraph 5 states that as a consequence of Miller becoming the

subject of lawsuits, legislative and state agency enforcement actions, and adverse publicity,

which the Indictment details, Miller changed the way he did business and thus the way the

conspiracy operated. While evidence that external pressures caused Miller to change the



        97
          United States v. Schuler, 458 F.3d 1148, 1153 (10th Cir. 2006) (quoting United States v. Collins, 920 F.2d
619, 631 (10th Cir. 1990)).
        98
          United States v. Brooks, 438 F.3d 1231, 1237 (10th Cir. 2006) (citing United States v. Miller, 471 U.S.
130, 136-37 (1985)).

                                                        30
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structure or methods of the conspiracy is admissible evidence intrinsic to the conspiracy,

detailing what these external pressures were may or may not be probative, and may be

prejudicial. Without deciding the admissibility of such evidence, the Court will deny the motion

to strike the language in paragraph 5 of the Indictment, reserving for later decision whether

paragraph 5 should be read to the jury, or whether the evidence referenced in paragraph 5 will be

admissible at trial.

        Miller similarly complains about Paragraph 7, which states that Miller received adverse

publicity and reputation from the “intentionally poor quality of his construction.” This seems

probative, for paragraph 7 goes on to state that as a consequence Miller could no longer sell

many houses to individuals, so instead sold his houses to investors in a manner that defrauded

financial institutions in a different way. Thus, the Court will deny the motion to strike paragraph

7, but again reserves ruling on the admissibility of such evidence, and whether this portion of the

Indictment will be read to the jury.

        Finally, Miller argues that portions of paragraph 10 only serve to inflame the jury. That

paragraph states that Miller sought home buyers who were less sophisticated and those with

credit and financial problems. Miller argues that this statement does not relate to any charge in

the Indictment and only serves to create prejudice. This statement, however, appears to describe

conduct that was intrinsic to the conspiracy, in that the conspiracy allegedly involved the

defendants providing down payments to some buyers as well as second mortgages that were

concealed from the primary lenders, as well as coercing buyers to move into the homes before

closing. The motion to strike this language is denied.

VI.     Limine Motions


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        Miller moves to exclude several types of evidence.99 Typically the Court does not

decide limine motions this far in advance of trial; and the Court intends to schedule a limine

hearing closer in time to the trial. Nonetheless, the Court will consider these motions now, as

both Miller and the government have briefed the issues.

       •          Evidence of Prior Investigations and Settlements

       Miller moves to exclude evidence of prior civil investigations and settlements, as

inadmissible evidence pursuant to Fed. R. Evid. 408. The Indictment states that Miller became

the subject of actions by state enforcement agencies, including the offices of the Attorneys

General for the states of Kansas and Missouri and the Office of the Kansas State Bank

Commissioner. Pursuant to Rule 408(a)(2), evidence of conduct or statements made in

compromise negotiations is admissible in a criminal case, if the negotiations relate to a claim by

a public office or agency in the exercise of its regulatory, investigative or enforcement authority.

Thus, evidence of compromise negotiations concerning the investigations or enforcement actions

by these state agencies would be admissible. Rule 408(b) further provides that evidence of

conduct or statements made in compromise of such state agency actions is admissible if it is

offered for purposes such as proving a witness’s bias or prejudice, negating a contention of

undue delay, or proving an effort to obstruct a criminal investigation or prosecution. The

government contends that evidence of prior investigations and enforcement actions is relevant to

explain why defendant Miller altered the conspiracy and scheme to defraud financial institutions.

The government explains,

                  [a]s pressure mounted from organized home buyers who were


       99
            (Docs. 246, 247, 250)

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               forced to resort to media coverage, regulatory intervention, then
               finally civil law suits, defendant Miller changed the name of his
               business, enlisted Judy Brumble to conceal his prohibited
               relationship with defendant Earnshaw, then ultimately relied upon
               investors such as defendant Moser so that the Miller name would
               not be associated with Miller built homes.

The Court denies this motion without prejudice. The motion may be renewed and considered

during the limine hearing, and the Court can then consider the relevancy of this evidence, as well

as whether its probative value outweighs any prejudicial effect.

       •       Evidence of Negligent Workmanship

       Defendant Miller moves to exclude evidence of negligent workmanship. This objection

appears to relate to the same type of evidence addressed in the motion to exclude evidence of

prior investigations and settlements. Again, the government argues that this evidence is

probative, as it too explains why Miller altered the conspiracy, in light of complaints,

investigations and enforcement action. The government also argues that this evidence is relevant

to show intent, in that “Miller’s only concern was to get loan applications approved, and buyers

into homes. In order to accomplish this and move the huge volume of homes in his inventory,

defendant Miller sacrificed quality.” This motion is denied without prejudice; and can be

renewed and argued at the limine hearing.

•      Evidence of Wealth

       Miller moves to exclude evidence of wealth as not probative, but prejudicial. The

government argues that evidence of a defendant’s financial stake in a conspiracy is a factor the

jury may consider in determining whether a conspiracy existed and whether a defendant was a

member of it. Indeed, that is a factor included in a standard jury instruction on conspiracy. The

Court thus denies this motion without prejudice, and assuming the motion is renewed, the Court

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will determine the relevancy of this evidence at the limine hearing, as well as weigh its probative

value against any prejudicial effect.

       IT IS THEREFORE ORDERED THAT:

(1) Defendant Earnshaw’s motion for disclosure of 404(b) evidence (Doc. 241) is denied;

(2) Defendants’ various motions for discovery of exculpatory and impeachment evidence (Docs.

235, 248, 254) are granted in part and denied in part;

(3) Defendant Moser’s motion for discovery of abbreviated witness list (Doc. 261) is denied;

(4) Defendant Moser’s motion for early inspection of demonstrative evidence (Doc. 263) is

granted in part and denied in part;

(5) Defendant Earnshaw’s motion for identification and summary of testimony of expert

witnesses (Doc. 234) is denied;

(6) Defendant Moser’s motion for notice of Rule 807 Evidence (Doc. 266) is denied;

(7) Defendants’ various motions for additional time to file motions (Docs. 243, 252 and 259) are

granted in part, giving them an additional 30 days from the date of this order;

(8) Defendants’ various motions for notice of non-testifying co-conspirators’s statements, for a

James hearing and for determination of admissibility (Docs. 228, 239, 249, 265) are granted in

part and denied in part;

(9) Defendant Earnshaw’s motion for exclusion of co-conspirator testimonial statements (Doc.

229) is denied without prejudice;

(10) Defendant Ross’s motion to suppress (Doc. 256) is denied;

(11) Defendant Moser’s motion for severance (Doc. 258) remains under advisement, and

Defendant Moser is directed to submit ex parte, within 10 days of this order, a written statement


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showing good cause why he is entitled to severance and/or why he is entitled to an ex parte

hearing on his motion for severance;

(12) Defendant Earnshaw’s Motion for Adequate Court Facilities (Doc. 237) is denied;

(13) Defendants’ motions for bill of particulars (Docs. 231, 255, 273) are granted in part and

denied in part;

(14) Defendant Miller’s motion to dismiss (Doc. 244) is denied;

(15) Defendant Miller’s alternative motion for bill of particulars (Doc. 244) is granted in part and

denied in part;

(16) Defendant Miller’s Motion to Strike (Doc. 245) is denied; and

(17) Defendant Miller’s motions to exclude evidence of settlements, investigations, negligent

workmanship and wealth (Docs. 246, 247, 250) are denied without prejudice.

       IT IS SO ORDERED.

       Dated this 3rd day of July 2008.



                                                      S/ Julie A. Robinson
                                                     Julie A. Robinson
                                                     United States District Judge




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